
USCA1 Opinion

	





                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________          No. 94-1628                           OBDULIO ROSARIO-CORDERO, ET AL.,                               Plaintiffs - Appellants,                                          v.                         CROWLEY TOWING &amp; TRANSPORTATION CO.,                                Defendant - Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Jos  Antonio Fust , U.S. District Judge]
                                              ___________________                                 ____________________                                        Before                               Torruella, Chief Judge,
                                          ___________                           Campbell, Senior Circuit Judge,
                                     ____________________                          and Boyle,* Senior District Judge.
                                      _____________________                                _____________________               Jane E. L pez, with whom Gerardo L. Santiago-Puig, Miguel A.
               _____________            ________________________  _________          P rez-Vargas  and  Santiago Puig  Law  Office were  on  brief for
          ____________       __________________________          appellants.               Raquel M.  Dulzaides, with  whom Jim nez, Graffam  &amp; Lausell
               ____________________             ___________________________          was on brief for appellee.                                 ____________________                                   February 1, 1995                                 ____________________                              
          ____________________          *  Of the District of Rhode Island, sitting by designation.



                    TORRUELLA, Chief  Judge.   The issue  presented in this
                    TORRUELLA, Chief  Judge.
                               ____________          case is whether appellants' claims  under Mandatory Decree No. 38          of the  Minimum  Wage Board  of Puerto  Rico are  preempted by             514(a) of the Employee Retirement Income Security Act of 1974, 29          U.S.C.    1001 et seq., as amended ("ERISA").  Appellants Obdulio
                         __ ___          Rosario-Cordero   and   Otilio   Mart nez-Arroyo   ("Appellants")          initiated this action  in Puerto Rico  local court against  their          former  employer,  Crowley  Towing  and   Transportation  Company          ("Crowley"),  alleging  that  they  were  not  allowed  to  enjoy          vacation leave duly  owed them pursuant  to Mandatory Decree  No.          38.  The case was removed to the United States District Court for          the District of Puerto Rico on Crowley's theory  that Appellants'          claims  under Mandatory  Decree No. 38  were preempted  by ERISA.          Rosario-Cordero  v. Crowley Towing &amp; Transp. Co., 850 F. Supp. 98
          _______________     ____________________________          (D.P.R. 1994).   Ruling on Crowley's motion for summary judgment,          the district court held  that the Appellants' claims  were indeed          preempted by ERISA.  Id.  at 102.  For the following  reasons, we
                               __          affirm.                                      BACKGROUND
                                      BACKGROUND                    Crowley  operates a  tugboat operation  covering Puerto          Rico, ports  in the continental  United States,  the U.S.  Virgin          Islands,  and some international ports.   The nature of Crowley's          operations  requires its  employees  to travel  to the  different          ports to provide tug services.                    Most   of  Crowley's  employees   are  members  of  the          Seafarers' International Union, Atlantic, Gulf, Lakes and  Inland                                         -2-



          Waters  District, AFL-CIO  (the  "Union").   During all  relevant          periods,  Appellants were members of the Union, and the Union was          their  exclusive  bargaining  representative.     Pursuant  to  a          Collective  Bargaining  Agreement  (the  "CBA"),  the  Union  and          Crowley  agreed to  participate in  the Seafarers'  Vacation Plan          (the "Plan").                     The Plan is a multiemployer employee benefit plan which          provides  vacation benefits to the employees of its members.  The          Plan is structured and governed in accordance with ERISA.   It is          administered by an Administrator.  The Administrator, in turn, is          appointed  by the Plan's twelve-member Board of Trustees.  Six of          the Trustees are appointed by the  Union and the other six by the          participating employers.                    The Plan provides for the establishment of  a fund from          contributions   from   the    participating   employers.      The          contributions are deposited in  the Plan's bank accounts.   These          funds,  which contain only Plan monies,  are held in trust, and a          portion of the assets are invested in bonds and notes.  The funds          are used  to pay vacation benefits to  the eligible participants,          and to cover  the Plan's  administrative costs.   Under the  CBA,          Crowley  was required to make periodic  contributions to the Plan          for each employee.                    The  Plan triggers  vacation pay  when an  employee has          worked seventy-five days in a  fifteen-month period, irrespective          of whether the  employee intends  to actually  take the  vacation          leave.   During their employment, both Appellants applied for and                                         -3-



          received the vacation  payment due them  under the Plan's  terms,          although  they did not take  the vacation leave.   Appellants are          now retired.                    Despite their  receipt of vacation pay  under the Plan,          Appellants filed  suit against  Crowley, claiming that  they were          never  allowed to take their vacation leave as mandated by Puerto          Rico's  Mandatory  Decree No.  38, (the  "Decree").1   The Decree          provides in relevant part:                      Every  employee  shall  be   entitled  to                      vacation  leave with  full pay  to become                      effective when he begins to  enjoy it, at                      the rate of one and five twelves [sic] (1                      5/12) days for each month in which he has                      worked  at least one hundred (100) hours.                      This  leave  is  equivalent to  seventeen                      (17) workdays per year. . . .                      The employer who  does not  grant any  of                      his employees the vacation leave to which                      he  is entitled  after having  accrued it                      for two  (2) years,  shall grant  him the                      total thus far accrued, paying  him twice                      (2)  the wage corresponding to the period                      accrued in excess of  said two years. . .                      .                      Any contract whereby the employee waives,                      for  money  or  other consideration,  his                      right to actually take his vacation leave                      shall be unlawful and void.          Appellants  claim, therefore,  that Crowley  is obligated  to pay          them  a sum  equivalent to  seventeen days  of work  per year  of                              
          ____________________          1  The  Decree is one  of 43 decrees  promulgated by the  Minimum          Wage Board of Puerto Rico.   The Board is authorized by Section 2          of the  Minimum Wage Act of Puerto Rico, 29 L.P.R.A.   245(a), to          establish  mandatory decrees regarding  the working conditions of          particular  industries.    These  decrees  are  quasi-legislative          documents with the force  of law.  Mendoza v.  Minimum Wage Board
                                             _______     __________________          of Puerto Rico, 74 P.R.R. 695, 702 (1953).
          ______________                                         -4-



          service, plus the double penalty provided by the Decree.                                      DISCUSSION
                                      DISCUSSION                    A.  Standard of Review
                    A.  Standard of Review
                        __________________                    Because the district court granted summary  judgment in          Crowley's favor, we review that decision de  novo.  Serrano-P rez
                                                   __  ____   _____________          v. FMC Corp., 985 F.2d 625, 626 (1st Cir. 1993); Pagano v. Frank,
             _________                                     ______    _____          983 F.2d 343, 347 (1st Cir. 1993).  We must determine whether the          record,  viewed in  the light  most  favorable to  the non-moving          Appellants  and with  all  reasonable inferences  drawn in  their          favor,  presents no  genuine  issue  of  material fact  and  thus          entitles  Crowley to judgment as a matter of law.  Serrano-P rez,
                                                             _____________          985 F.2d at 626.                    B.  Preemption Under ERISA Generally
                    B.  Preemption Under ERISA Generally
                        ________________________________                    As the  Appellants correctly  point out, preemption  of          state law  is generally disfavored.  McCoy v. Massachusetts Inst.
                                               _____    ___________________          of Technology, 950 F.2d 13, 16 (1st Cir. 1991).  This presumption
          _____________          against  preemption is, however, not absolute.  When Congress has          expressly  so  provided,  federal  preemption  of  state  law  is          mandated under the Supremacy Clause.  Id.
                                                __                    ERISA preemption is, as  a general matter, expansive in          scope.   McCoy, 950  F.2d at  16.   In  formulating the  statute,
                   _____          Congress  included  a  sweeping   preemption  clause,     514(a),          commanding  that ERISA "shall  supersede any  and all  State laws          insofar  as  they may  now or  hereafter  relate to  any employee
                                                    _________      ________          benefit  plan."   29  U.S.C.    1144(a)  (emphasis added).    For
          _____________          preemption  purposes,  "State  laws"  are  "all  laws, decisions,                                         -5-



          rules, regulations, or  other State action  having the effect  of          law."  29 U.S.C.   1144(c)(1).  Puerto Rico is expressly included          in the statute's definition of "State."  29 U.S.C.   1002(10).                    The   United  States   Supreme  Court   has  repeatedly          explained  that a state law "relates to" an employee benefit plan          "'if it  has a connection  with or  reference to  such a  plan.'"          District  of Columbia v. Greater Washington Bd. of Trade, __ U.S.
          _____________________    _______________________________          __, 113  S. Ct. 580, 583 (1992) (quoting Shaw v. Delta Air Lines,
                                                   ____    ________________          Inc.,  463   U.S.  85,  96-97  (1983));   Ingersoll-Rand  Co.  v.
          ____                                      ___________________          McClendon, 498 U.S. 133, 139 (1990).   Moreover, a state law  may
          _________          "relate to"  an employee benefit  plan and thereby  be preempted,          even  if  the law  is not  specifically  designed to  affect such          plans,  and even if its  effect is indirect.   Greater Washington
                                                         __________________          Bd. of Trade, __ U.S. at __, 113 S. Ct. at 583 (citing Ingersoll-
          ____________                                           __________          Rand, 498 U.S. at 139).  
          ____                    Following the  Supreme Court's  lead, this  Circuit has          also construed the  words "relate  to" broadly; a  state law  may          relate to an employee benefit  plan even though the law  does not          conflict  with  ERISA's  own  requirements,  and  represents   an          otherwise legitimate  state effort to impose  or broaden benefits          for employees.   Simas  v. Quaker Fabric  Corp. of Fall  River, 6
                           _____     ___________________________________          F.3d 849, 852 (1st Cir. 1993) (citations omitted).                    Therefore, a state law with even an  indirect effect on          an ERISA-covered  benefit plan is preempted, even though ERISA by          its  terms may not necessarily  address the topic  covered by the          state law.  For example, a state law is preempted if it restricts                                         -6-



          the  choices  of a  benefit  plan  regarding its  administration,          structure,  or benefits.  See,  e.g., FMC Corp.  v. Holliday, 498
                                    ___   ____  _________     ________          U.S. 52, 60  (1990) (ERISA preempts Pennsylvania  antisubrogation          statute   restricting  structure  of   ERISA  plans);  Alessi  v.
                                                                 ______          Raybestos-Manhattan,  Inc.,  451  U.S.  504,  505  (1981)  (ERISA
          __________________________          preempts  New Jersey  statute insofar  as statute  prevents ERISA          plans from decreasing benefits);  United Wire, Etc. v. Morristown
                                            _________________    __________          Mem. Hosp., 995 F.2d 1179, 1193 (3d Cir. 1993) (state statute may
          __________          be preempted if its effect is to "dictate or restrict the choices          of  ERISA plans  with regard to  their benefits,  structure, [or]          reporting and administration"); National Elevator  Industry, Inc.
                                          _________________________________          v.  Calhoun, 957  F.2d  1555, 1561  (10th  Cir.) (ERISA  preempts
              _______          Oklahoma  statute insofar as it "may be  used to effect change in          the administration,  structure, and benefits of  an ERISA plan"),          cert.  denied, __ U.S. __,  113 S. Ct.  406 (1992); Arkansas Blue
          _____  ______                                       _____________          Cross &amp;  Blue Shield v. St.  Mary's Hospital, 947 F.2d  1341 (8th
          ____________________    ____________________          Cir.  1991)  (ERISA  preempts  Arkansas  statute  regulating  the          assignment of  benefits to health care  providers), cert. denied,
                                                              _____ ______          __ U.S.  __, 112 S.  Ct. 2305  (1992).  Any  such state  laws can          avoid  ERISA preemption  only if  they have  merely a  "'tenuous,          remote, or  peripheral connection'" with a  covered benefit plan,          "'as  is  the case  with  many laws  of  general applicability.'"          Combined  Mgt. v. Superintendent  of Bur. of  Ins., 22 F.3d  1, 3
          ______________    ________________________________          (1st Cir. 1994) (quoting Greater Washington Bd. of Trade, __ U.S.
                                   _______________________________          at __, 113 S. Ct. at 583 n.1).                    This   broad  preemptive   effect   of  ERISA   may  be                                         -7-



          surprising, given  that ERISA  was passed primarily  to safeguard          employees from  the abuse and mismanagement  of funds accumulated          in various types of employee benefit plans.  Fort Halifax Packing
                                                       ____________________          Co. v. Coyne, 482 U.S. 1, 15 (1987).   Yet, as we have explained,
          ___    _____          "the  reason for  the broad  preemption provision  is clear:   By          preventing  states  from  imposing divergent  obligations,  ERISA          allows each employer  to create its  own uniform plan,  complying          with  only one  set  of rules  (those of  ERISA)  and capable  of          applying uniformly in all  jurisdictions where the employer might          operate."  Simas, 6 F.3d at 852.
                     _____                    Finally, we  address  what plans  constitute  "employee          benefit  plans" for   514(a)'s purposes.  The district court ably          set  forth the  applicable  law on  this  point in  its  opinion,          Crowley, 850 F. Supp. at 100-101, and we  follow suit here merely
          _______          for  the sake  of thoroughness.   Section  3(3) of  ERISA defines          employee  benefit  plans as  plans that  are either  "an employee          welfare  benefit plan," or "an employee pension benefit plan," or          both.  29 U.S.C.   1002(3).  An employee welfare benefit plan, in          turn, is defined as:                      [A]ny  plan, fund,  or program  which was                      heretofore or is hereafter established or                      maintained  by  an   employer  or  by  an                      employee organization, or by both, to the                      extent that such  plan, fund, or  program                      was established or  is maintained for the                      purpose of providing for its participants                      or  beneficiaries, (A)  .  .  .  vacation
                                                       ________                      benefits. . . .
                      ________          29 U.S.C.    1002(1) (emphasis  added).  ERISA  does not  further          define "plan,  fund  or program"  or  "vacation benefits."    The                                         -8-



          Supreme Court, however, has  clearly stated that "a multiemployer          fund created to  provide vacation benefits for  union members who          typically  work for several employers during the course of a year          . . .   undoubtedly  falls   within  the   scope  of   the  Act."          Massachusetts v. Morash,  490 U.S.  107, 114 (1989).   The  Court
          _____________    ______          distinguished such  multiemployer plans, where  vacation benefits          are paid out  of a  separate fund established  for that  purpose,          from a  single employer's  payroll practice of  awarding vacation          pay,  where the payments are  made out of  the employer's general          assets.  The latter practices, the Court held, are not covered by          ERISA.  Morash, 490 U.S. at 113-114.  The Court went on to state:
                  ______                      [W]e  emphasize that  the case  before us                      . . .  concern[s]  payments  by a  single                      employer out of  its general assets.   An                      entirely  different  situation  would  be                      presented if  a  separate fund  had  been                      created   by  a  group  of  employers  to                      guarantee   the   payment   of   vacation                      benefits to laborers who  regularly shift                      their  jobs from one employer to another.                      Employees who are a beneficiary of such a                      trust  face far different  risks and have                      far  greater need  for the  reporting and                      disclosure  requirements [of  ERISA] than                      those whose vacation  benefits come  from                      the  same  fund from  which  they receive                      their paychecks.           Morash, 490 U.S. at 120.
          ______                    Given these  principles,  therefore, our  task  becomes          clear.   We must determine 1)  whether the Plan at  issue in this          case is an "employee benefit plan" within the scope of ERISA, and          if so, 2) whether the  Decree "relates to" the Plan.  If it does,          then  ERISA preempts the Decree and  Appellants' claims under the          Decree are foreclosed.                                         -9-



                    C.  Is the Plan Covered by ERISA?
                    C.  Is the Plan Covered by ERISA?
                        _____________________________                    As  we explained  above,  the Plan  is a  multiemployer          employee benefit plan established and governed in accordance with          ERISA.  Under the Plan, employees, including the Appellants here,          become  entitled   to  vacation  benefits   regardless  of  their          employer,  as long as they  work seventy-five days  in a fifteen-          month  period.   Employees seeking  their vacation  benefits must          apply directly to  the Plan  Administrator to obtain  them.   The          benefits are then  paid to  employees out of  a segregated  trust          fund  established solely  for that  purpose, and  not out  of the          general assets of any individual employer.                    The  employers'  participation  in  the  Plan  consists          solely  of making  the  required contributions.   The  individual          employers, including Crowley, are not involved in the application          for  or the administration of the benefits.  In fact, the payment          of vacation benefits  under the Plan  rests on contingencies  and          processes  entirely  outside  of  the individual  employers'  and          employees' control.                    It  seems clear to us  that this Plan  is precisely the          type of plan that  Congress intended to reach in  enacting ERISA.          It certainly falls squarely within the description, quoted above,          set  forth  by the  Supreme  Court in  Morash, 490  U.S.  at 120.
                                                 ______          Employee members of the  Plan are the beneficiaries of  the trust          established for  the payment of their vacation benefits, and thus          face the risks  of fund mismanagement  and payment failures  that          ERISA was intended to prevent.   If the Plan were not  covered by                                         -10-



          ERISA, all  of the Plan's participating  employees would suddenly          be exposed to these risks.   For these reasons, we find  that the          Plan  at  issue here  is indeed  an  "employee benefit  plan" for          ERISA's   514(a) purposes.                    D.  Does the Decree "Relate to" the Plan?
                    D.  Does the Decree "Relate to" the Plan?
                        _____________________________________                    Appellants contend that the Decree does not "relate to"          the  Plan  because   1)  the   Decree  is  a   law  of   "general          applicability" not aimed at the administration of ERISA plans; 2)          the  penalty imposed by the  Decree does not  constitute a "plan"          such as ERISA is meant to regulate; and 3) if the cause of action          created by  the Decree  were preempted,  employees would  be left          without a remedy at law.  We address each of these contentions in          turn.                      1.  Is the Decree a "law of general application" with
                      1.  Is the Decree a "law of general application" with                      a connection "too tenuous, remote, or  peripheral" to
                      a connection "too tenuous, remote, or  peripheral" to                      relate to the Plan?
                      relate to the Plan?                    Appellants  claim  that  the  Decree  is  a  regulation          directed  at  all   employers  in  the  transportation   industry          regardless of whether  they maintain an ERISA-covered  plan.  The          Decree, they  explain, mandates and regulates  vacation leave and          other working  conditions for the  protection of workers  in that          industry.  As  such, it is a law of general applicability neither          directed at nor predicated  upon the existence of an  ERISA plan,          and thus does not "relate to" the Plan.                    In support of their  argument on this point, Appellants          submit an inaccurate statement  of the law.   Significantly, they          incorrectly  rely   on   the  traditional   preemption   analysis                                         -11-



          applicable to  less comprehensive federal statutes,  arguing that          the  Decree here is not  preempted because it  does not interfere          with ERISA's overriding  concern of  protecting beneficiaries  of          employee benefit plans from fraud or misuse of plan funds.  As we          have  explained, however,  the broad  preemption clause  of ERISA          obliges courts to  apply ERISA's preemptive  effects expansively,          and  therefore the  preemption analysis  under ERISA  is entirely          different  than for other  federal statutes.   Thus, the narrower          preemption  analysis   offered  by   the  Appellants   is  simply          inapplicable here.2                              
          ____________________          2   The Appellants also erroneously  rely on two cases to support          their contentions.   First, they  cite our  decision in  Combined
                                                                   ________          Management, 22 F.3d at 1, for the proposition that a state law is
          __________          not  preempted by  ERISA when  the law  is "a  matter  of general          application affecting all private  employers, whether or not they          have adopted an ERISA plan,  and because the law does not  affect          the structure,  administration, or  type of benefits  provided by          any ERISA plans."  For good reason, the Appellants do not provide          a  page cite or contextual  explanation.  The  quoted sentence is          indeed in the case, but in the section summarizing the holding of          the  district court,  not  in our  own  holding.   Moreover,  the          Combined  Management  decision   simply  does  not  support   the
          ____________________          Appellants' arguments.  Although  we found in that case  that the          Maine  state  law in  question was  not  preempted by  ERISA, our          decision  rested  on  the fact  that  the  type of  state  law in          question,  a workers'  compensation  law, was  expressly excepted
                                                         __________________          from ERISA's preemption clause under ERISA's own terms.  Combined
                                                                   ________          Management, 22  F.3d at 3-4 (citing ERISA    4(b)(3), 29 U.S.C.  
          __________          1003(b)(3)).   Here,  by  contrast,  the  Decree  is  not  a  law          expressly excepted from ERISA's preemptive sweep.              Appellants also offer  Vartanian v. Monsanto Co., 14 F.3d 697
                                     _________    ____________          (1st Cir.  1994), and contend  that the case  sets forth  a "two-          pronged test" for determining  whether a state law relates  to an          ERISA plan, which is not  met here.  Once again,  the Appellants'          use of case law is misguided.  Vartanian involved a plaintiff who
                                         _________          brought  claims against his employer under both an ERISA cause of          action and a  cause of action  for common law  misrepresentation.          Vartanian, 14 F.3d at 699.   We found there that the state common
          _________          law  cause of action was  preempted by ERISA  because the court's          inquiry was necessarily directed  to the ERISA plan.   The "test"                                         -12-



                    Although  the  Decree  is   indeed  a  law  of  general          application affecting employers regardless of their participation          in plans, this does not necessarily save it  from preemption.  As          we explained, laws  of general application  will be preempted  if          they "relate to" an ERISA-covered plan, even indirectly.  Greater
                                                                    _______          Washington Bd. of Trade, __ U.S. __, 113 S. Ct. at 583 (citations
          _______________________          omitted).   In the  case  at bar,  the  Decree requires  that  an          employer pay an employee the accrued vacation pay at the time the          employee  takes leave.   Any  contract allowing  the employee  to          receive payment in  lieu of leave  is null and  void.  Under  the          Decree, the employee  must work at least  one hundred hours in  a          month to accrue one and five-twelfths vacation days.  Presumably,          the employer may establish  the employee's vacation schedule, and          when the employee will receive the payment.                    In many respects,  therefore, the Decree's requirements          differ from  or conflict with the  terms of the Plan.   Under the          Decree, the employer determines  when the employee takes vacation          leave or payment; under  the Plan, the choice is  the employee's,          and  the employer is not involved in the disbursement of vacation                              
          ____________________          relied upon was  formulated by  the Supreme  Court in  Ingersoll-
                                                                 __________          Rand, for determining when a "judicially created cause of action"
          ____          is  preempted.   Ingersoll-Rand, 498  U.S.  at 141.  The analysis
                           ______________          applied  in  Vartanian is  not  the  sole,  talismanic  test  for
                       _________          preemption  in  all circumstances,  but  one  tailored for  cases          involving  common  law  causes  of  action,  a  circumstance  not          presently before us.  As we have already explained, this Circuit,          following Supreme  Court precedent, has held  that ERISA preempts          state laws if they relate to an ERISA plan, even indirectly.  The          inquiry into whether  a law  "relates to" a  plan is  necessarily          fact-intensive.   Here, the Decree  by its terms  interferes with          the administration,  accrual and disbursement  of benefits  under          ERISA plans, and is therefore preempted.                                               -13-



          benefits.  Under the Plan, an employee accrues vacation  benefits          after  working  at least  seventy-five  days  in a  fifteen-month          period, whereas the Decree  establishes a different timeframe for          triggering  leave.   Most  significantly,  the  Decree imposes  a          penalty on non-complying employers, and prohibits any alternative          arrangements.                    In  all these  respects, the  Decree  imposes different          requirements on  employers than  those imposed by  the Plan,  and          affects  the accrual  and  disbursement of  vacation benefits  to          employee members of the Plan.    Moreover, the manner and  degree          to which the Decree  affects the Plan is substantial,  and cannot          be  termed "tenuous, remote, or peripheral."   Indeed, the Decree          by its terms  would prohibit  a significant aspect  of the  Plan,          which  allows employees to  receive vacation payments  in lieu of          leave.  Therefore, we  find that the Decree does  "relate to" the          Plan for purposes of   514(a) of ERISA.                      2.  Appellants' remaining contentions
                      2.  Appellants' remaining contentions                    Appellants also contend that the Decree does not create          a "plan" such as ERISA is meant to regulate.   Because the Decree          is only concerned with "vacation leave" and not with the field of          "vacation  plans," they claim, the Decree is not preempted.  Once          again,  this argument seems to  rest on the Appellants' misguided          perception  of  the  applicable  preemption  principles.    ERISA          preempts state laws  that relate  to covered plans;  it does  not
                                    __________          require  that a  state law  establish such  a plan,  or expressly          contemplate existing plans, in order for preemption to apply.  As                                         -14-



          we have explained above,  the Plan here  is a covered plan  under          the  terms of  ERISA, and  the Decree  significantly affects  its          administration  and  restricts  its  terms.   It  is,  therefore,          preempted by ERISA insofar as it affects ERISA-covered plans.                    Appellants  finally   argue  that  if   the  Decree  is          preempted, employees would be left without a remedy in law.  They          claim that Crowley seeks here to "'don the mantle  of  ERISA'" to          escape  its obligation  to comply  with Puerto  Rico's employment          practices law (quoting Combined Management, 22 F.3d at 5).
                                 ___________________                    Although we are sympathetic to the Appellants' argument          on this point, it  unfortunately is unavailing.  As  we explained          above, one  of the primary  purposes of ERISA's  broad preemption          clause was to prevent states from imposing divergent obligations,          and to thereby allow employers to create  and administer employee          benefit  plans subject to one uniform set of regulations.  Simas,
                                                                     _____          6 F.3d  at 852.  The  additional burdens and penalties  placed on          employers  by  these   divergent,  preempted   state  laws   are,          therefore,  the necessary casualties  of the otherwise beneficial          effects of ERISA.  Unlike some other federal laws, ERISA does not          merely establish a  "floor" of employee benefits  or rights below          which states cannot  fall.   It sweepingly preempts  any and  all          state  laws that "relate to" a plan within ERISA's coverage, even          those laws which provide stronger protections for employees.  The          double penalty mandated by  the Decree here is a  perfect example          of  the type  of problem  at which  ERISA's preemption  clause is          directed.  The preemption clause of ERISA would be meaningless if                                         -15-



          employers such as Crowley could enter, by a collective bargaining          agreement, into a multiemployer vacation benefit plan, and comply          with that plan, yet still be held liable under the Decree because          the plan terms differ from the Decree.                    Finally, we point out that  if the Appellants had  been          improperly denied  benefits, which  is not  the  case here,  they          would  have a cause of  action under ERISA.   Therefore, although          they lose their legal remedy under the Decree through preemption,          they  gain the protections of ERISA by participating in an ERISA-          covered plan.                                         -16-



                                      CONCLUSION
                                      CONCLUSION                    For the foregoing reasons,  we find that ERISA preempts          Mandatory Decree  No. 38 insofar  as it relates  to ERISA-covered          employee benefit plans.   The district court's order is therefore          affirmed.
          ________                                         -17-



